                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                       No. 22-cr-2019-CJW-1
 vs.
                                              REPORT AND RECOMMENDATION
 HOUSTON SIMMONS III,

       Defendant.
                                ____________________


       On December 15, 2022, the above-named defendant appeared before the
undersigned United States Magistrate Judge by consent and, pursuant to Federal Rule of
Criminal Procedure 11, conditionally pleaded guilty to Count 1 of the Superseding
Indictment, Possession of a Firearm by a Felon, in violation of 18 U.S.C. Sections
922(g)(1) and 924(a)(2).     After cautioning and examining Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determined that Defendant’s
decision to plead guilty was knowing and voluntary, and the offense charged was
supported by an independent basis in fact containing each of the essential elements of the
offense. I therefore RECOMMEND that the Court ACCEPT Defendant’s guilty plea
and adjudge Defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the Government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the Government could use against Defendant any statements
made under oath.




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       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Superseding Indictment and
further acknowledged that Defendant had fully discussed the Superseding Indictment with
Defendant’s counsel. Defendant acknowledged that Defendant had fully conferred with
Defendant’s counsel prior to deciding to plead guilty and that Defendant was satisfied
with counsel’s services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.     The right to assistance of counsel at every stage of the case;

       2.     The right to a speedy, public trial;

       3.     The right to have the case tried by a jury selected from a cross-section of
              the community;

       4.     That Defendant would be presumed innocent, and would be found not guilty
              unless the Government could prove each and every element of the offense
              beyond a reasonable doubt;

       5.     That Defendant would have the right to see and hear all of the Government’s
              witnesses, and Defendant’s attorney would have the right to cross-examine
              any witnesses called by the Government;

       6.     That Defendant would have the right to subpoena witnesses to testify at the
              trial, and if Defendant could not afford to pay the costs of bringing these
              witnesses to court, then the government would pay those costs;




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      7.     That Defendant would have the privilege against self-incrimination: i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from Defendant’s decision not to testify; and

      8.     That any verdict by the jury would have to be unanimous.

      I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
      • Plea Agreement
      I determined that Defendant was pleading guilty pursuant to the Third
Memorandum of a Proposed Plea Agreement between the United States Attorney’s Office
and Defendant (“the plea agreement”). After confirming that a copy of the written plea
agreement was in front of Defendant and Defendant’s counsel, I determined that
Defendant understood the terms of the plea agreement. I summarized the plea agreement,
and made certain Defendant understood its terms.
      • Conditional Plea
      I determined that Defendant was entering a conditional plea; that is, Defendant
reserved the right to withdraw his guilty plea if the appellate court granted Defendant’s
motion to suppress (Doc. 35).
      • Elements of Crime and Factual Basis
      I summarized the charge against Defendant and listed the elements of the crime
charged. I determined that Defendant understood each and every element of the crime,
and Defendant’s counsel confirmed that Defendant understood each and every element of
the crime charged. For the offense to which Defendant was pleading guilty, I elicited a
full and complete factual basis for all elements of the crime charged in the Superseding




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Indictment. Defendant’s attorney indicated that the offense to which Defendant was
pleading guilty was factually supported.
      • Sentencing
      I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggest it should
be and may be different from what Defendant’s attorney had estimated.
      I explained that a probation officer will prepare a written presentence investigation
report and that Defendant and Defendant’s counsel will have an opportunity to read the
presentence report before the sentencing hearing and will have the opportunity to object
to the contents of the report. I further explained that Defendant and Defendant’s counsel
will be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
      I also explained that if the mandatory minimum sentence applies, the sentencing
judge cannot sentence Defendant to a sentence below fifteen years in prison on Count 1,
which is the statutory mandatory minimum, even if the judge wants to.
      I advised Defendant of the consequences of the guilty plea, including the possibility
of a mandatory minimum sentence, the maximum term of imprisonment, the maximum
term of supervised release, and the maximum fine. Specifically, I advised Defendant
that Count 1 of the Superseding Indictment is punishable by the following maximum
penalties: (1) not more than ten years in prison without the possibility of parole; (2) a
period of supervised release following prison of not more than three years; and (3) a
fine of not more than $250,000. I further advised Defendant that if the Court finds
Defendant has three previous convictions for a violent felony or a serious drug offense,
or both, committed on occasions different from one another, then pursuant to 18 U.S.C.



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Section 924(e)(1), Count 1 of the Superseding Indictment is punishable by a mandatory
minimum sentence of fifteen years in prison and the following maximum penalties: (1)
not more than life in prison without the possibility of parole; (2) a period of supervised
release following prison of not more than five years; and (3) a fine of not more than
$250,000.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I also advised Defendant that the Court will impose a mandatory
special assessment of $100.00, which Defendant must pay. I advised Defendant of the
collateral consequences of pleading guilty. Defendant acknowledged understanding all
of the above consequences.
       I also explained that both the Government and Defendant have the right to appeal
Defendant’s sentence.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty plea, Defendant will have no right to withdraw the plea at a later date,
even if the sentence imposed is different from what Defendant anticipated.
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Count 1 of the Superseding Indictment.
       I find the following with respect to the guilty plea:
       1.     Defendant’s plea is voluntary; knowing; not the result of force, threats or
              promise; and Defendant is fully competent.




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      2.      Defendant is aware of the minimum and maximum punishment for the count
              to which Defendant pleaded guilty.

      3.      Defendant knows of and voluntarily waived Defendant’s jury trial rights.

      4.      There is a factual basis for the plea.

      5.      Defendant is guilty of the crime to which Defendant pleaded guilty.

      Defendant has waived his right to object to this Report and Recommendation.
(Doc. 113.)
DONE AND ENTERED at Cedar Rapids, Iowa, this 15th day of December, 2022.




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